                         UNITED STATES BANKRUPTCY COURT
                      FOR THE NORTHERN DISTRICT OF ALABAMA
                                NORTHERN DIVISION

In re:                                                )
                                                      )
Markel Behel                                          )      Case No.: 18-81697-CRJ12
Melanie Behel                                         )
d/b/a Behel Farms                                     )
       Debtors                                        )      Chapter 12
                                                      )
                                                      )
Wayne County Bank                                     )
                                                      )
         Plaintiff                                    )
                                                      )
v.                                                    )      A.P. No.:
                                                      )
Markel Behel and                                      )
Melanie Behel                                         )
                                                      )
         Defendants                                   )


                COMPLAINT TO RENDER DEBT NON-DISCHARGEABLE
                           AND FOR OTHER RELIEF

         COMES NOW Wayne County Bank (hereinafter “Plaintiff”), by and through counsel, and

brings this cause of action against Markel Behel and Melanie Behel (hereinafter “Defendants”) to

have a debt owed by Defendant to Plaintiff rendered non-dischargeable, and for such other and

further relief, and alleges as follows:

                                      Jurisdiction and Venue

         1. This adversary proceeding is brought pursuant to Federal Rules of Bankruptcy Procedure,

Rules 7001, et. seq., 11 U.S.C. § 523(a)(6).

         2. Jurisdiction and venue are proper under 28 U.S.C. §§ 157(a) and 1409(a).

         3. This is a core proceeding pursuant to 28 U.S.C. §§ 157(b)(2)(I).




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        4. Defendants are adult residents of the state of Alabama. Defendants filed a bankruptcy

petition on June 8, 2018.

        5. Plaintiff is a pre-petition creditor of Defendant.

                                          Factual Summary

        6. Plaintiff incorporates herein the allegations and averments of paragraphs 1 through 5 with

the same force and effect as if fully set forth therein.

        7. On or about August 12, 2010, Defendants, Markel Behel and Melanie Behel, executed a

Multipurpose Note and Security Agreement (hereinafter “08/12/10 Note”) whereby Defendants

agreed to pay Plaintiff $158,261.85, plus interest accruing at 6.5% per annum, for a loan made by

Plaintiff to Defendants (Acct. No. xxxxx8542).

        8. As security for the 08/12/10 Note, Defendants pledged to Plaintiff various items of real

and personal property, including but not limited to, the following:

        “All debtor’s equipment, whether now owned or hereafter acquired, including any and all

        accessories, attachments, parts and replacements thereto. John Deere 6320 Tractor Serial #

        L06320H462901, 1 Bush Hog Serial #2415, 1988 John Deere 7000 4-rollmaxie [sic.] merge

        planter, 2001 Gooseneck Stock Trailer vin# 16GS316241B055437, 2008 New Holland TN60

        4x4 tractor Serial #HJEO96168, Case Dozer 550G Serial # 91499316, 1 new vermeer [sic.}

        hay w/baler [sic.] ramp & monitor #103 and 1 new vermeer [sic.] WR-20 rake #10953, 2004

        John Deere 750 no till drill 16-ft. All livestock of every kind including and description

        including but not limited to beef and dairy cattle, branded or unbranded, plus any increase

        therefrom, and including steers and bulls new owned by debtor. All accessions, additions,

        replacements, payments for participation in any state or federal farm programs and

        substitutions(including rights under Commodity Credit Corporation programs, FSA, payment




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       in kind, or any other general intangibles or programs); all records of any kind relating to any

       of the foregoing; all proceeds(including insurance, general intangibles, rents and accounts

       proceeds). Inclusion of proceeds does not authorize debtor to sell or otherwise dispose of

       collateral.”

       9. Plaintiff properly perfected its security interest in the collateral set forth in the preceding

paragraph by filing and renewing UCC Financing Statements with the State of Alabama.

       10. On or about August 12, 2016, Defendants modified the 08/12/10 Note pursuant to a Debt

Modification Agreement (hereinafter “08/12/16 Modification”) to extend the maturity date and to

modify the payment schedule.

       11. According to the terms of the 08/12/16 Modification all terms of the 08/12/10 Note not

modified remained in effect, including, but not limited to the type of security for the loan.

       12. On or about March 6, 2012, Defendant, Markel Behel, executed a Promissory Note and

Security Agreement (hereinafter “03/06/12 Note”) whereby Defendant, Markel Behel, agreed to pay

Plaintiff $28,740.00, plus interest accruing at 10.0% per annum, for a loan made by Plaintiff to

Defendant, Markel Behel (Acct. No. xxxxx6367).

       13. As security for the 03/06/12 Note, Defendant, Markel Behel, pledged to Plaintiff the

following:

       “(1) Equipment. All equipment including, but not limited to, all machinery, vehicles,

       furniture, fixtures, manufacturing equipment, farm machinery and equipment, shop

       equipment, office and recordkeeping equipment, and parts and tools. All equipment

       described in a list or schedule which I give will also be included in the Property, but such a

       list is not necessary for a valid security interest in my equipment.

       (2) Farm Products. All farm products including, but not limited to, all poultry and livestock




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       and their young, along with their products, produce and replacements; all crops, annual or

       perennial, and all products of the crops; and all feed, seed, fertilizer, medicines, and other

       supplies used or produced in my farming operations. Where required, the livestock will be

       properly tagged or branded.

       (3) Specific Property. 1989 John Deere 2550 2WD Tractor Ser#42335C 30 Head of Cows

       and 1 Black Key Bull to be located on Hwy 101 Lexington, AL”.

       14. Plaintiff properly perfected its security interest in the collateral set forth in the preceding

paragraph by filing and renewing UCC Financing Statements with the State of Alabama.

       15. At the time of the filing of their bankruptcy petition, Defendants were indebted to

Plaintiff in the sum of $165,875.57 under the 08/12/10 Note and 08/12/16 Modification.

       16. At the time of the filing of his bankruptcy petition, Defendant, Markel Behel was

indebted to Plaintiff in the sum of $32,934.23 under the 03/06/12 Note.

       17. Under the 08/12/10 Note and 08/12/16 Modification, Defendants agreed to the repayment

of any costs and reasonable attorney’s fees incurred by Plaintiff in protecting its security interest.

       18. Under the 03/06/12 Note, Defendant, Markel Behel, agreed to the repayment of any costs

and reasonable attorney’s fees incurred by Plaintiff in protecting its security interest.

       19. According to their testimony at the §341 meeting of creditors held July 11, 2018,

Defendants, whether one or both, sold various items of collateral securing both the 08/12/10 Note

and 08/12/16 Modification and the 03/06/12 Note, including, but not limited to the following:

       One 1989 John Deere 2550 2WD tractor, Serial No.: 42335C;

       One 2008 New Holland TN60 4x4 tractor, Serial No.: HJEO96168;

       One Case bulldozer 550G, Serial No.: 91499316;

       One bush hog, Serial No.: 2415;




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        One 1988 John Deere 7000 4-roll maxie merge planter;

        One 2001 Gooseneck Stock Trailer, VIN: 16GS316241B055437;

        One John Deer Gator; and

        Several head of cattle and one bull.

        20. Upon information and belief, Defendants, whether one or both, failed to remit the

proceeds from the sale of the various items of collateral listed in the preceding paragraph, despite

Defendants’ knowledge of Plaintiff’s security interest in said collateral.

        21. On June 8, 2018, Defendants filed a petition in this Court for relief under Chapter 12 of

the Bankruptcy Code.

        22. The replacement value of the collateral that Defendants sold, or otherwise disposed of,

is unknown at this time.

                                        Count I – § 523(a)(6)

        23. Plaintiff incorporates herein the allegations and averments of paragraphs 1 through 22

with the same force and effect as if fully set forth therein.

        24. Defendants transferred, sold, concealed, altered or destroyed various items of collateral

pledged as security under both the 08/12/10 Note and 08/12/16 Modification and the 03/06/12 Note

without Plaintiff’s authorization or knowledge and knowingly failed or refused to remit the proceeds

from the sale to Plaintiff. Defendants thereby exercised dominion and control over said collateral

and willfully and maliciously converted it for their own use.

        25. Defendant, by and through their actions, have caused willful and malicious injury to

Plaintiff and Plaintiff’s interest in the collateral pledged as security under both the 08/12/10 Note and

08/12/16 Modification and the 03/06/12 .

        26. Because the 08/12/10 Note and 08/12/16 Modification and the 03/06/12 Note provides




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that Defendants are responsible for any costs and reasonable attorney’s fees incurred by Plaintiff in

protecting its security interest, Plaintiff is entitled to costs and reasonable attorney’s fees.

                                          Prayer for Relief

        WHEREFORE, premises considered, Plaintiff respectfully requests this Court to render a

judgment in its favor against Defendants in an amount not to exceed $198,810.00. Plaintiff prays

that this Court will determine and hold that the debt and judgment are non-dischargeable and

excepted from any discharge Defendants may receive. Plaintiff also requests such other, further and

different relief as the Court may deem just and proper, including the assessment of court costs and

reasonable attorney fees against Defendants.

        Respectfully submitted this 21st day of September, 2018.

                                                        /s/ Rowlett W. Sneed, III
                                                        ROWLETT W. SNEED, III
                                                        Attorney for Plaintiff,
                                                        Southern Lease Mgmt. Group, LLC

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